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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI rao

     
    

 

NORTHERN DIVISION FIL Ey seer
CHRISTOPHER HENRY, )
)
Plaintiff, ) BY
)
v. )
) ; =
TA OPERATING LLC d/b/a ) Case No. x Zi c. tAho KH = MM TP
TRAVELCENTERS OF AMERICA AND | )
PETRO STOPPING CENTERS, )
) JURY TRIAL DEMANDED
Defendant. )
)
COMPLAINT

Plaintiff Christopher Henry (“Henry” or “Plaintiff’) hereby files this Complaint against
Defendant TA Operating LLC d/b/a TravelCenters of America and Petro Stopping Centers
(“Defendant”) and, in support thereof, would show unto the Court the following:

NATURE OF THE ACTION

Li Henry is a commercial truck driver who took his truck into Defendant’s Jackson,
Mississippi location for a routine oil change.

2. Defendant proceeded to drain the old oil from Plaintiffs truck, but failed to
replace it with the proper amount of new oil.

3. Claiming to have completed a proper oil change, Defendant presented to Plaintiff
a truck with little to no oil at all, which Plaintiff discovered when the truck ceased working after
driving approximately 100 miles.

4. Defendant’s grossly negligent failure to change the oil properly has caused
catastrophic damage to Plaintiff's truck, which now requires a new engine. Defendant’s

negligence has also caused Plaintiff to lose wages, suffer emotional distress, and incur expenses
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he would not have otherwise incurred.
JURISDICTION AND PARTIES

5. This Court is vested with original jurisdiction over the action pursuant to 28
U.S.C. § 1332 as Plaintiff and Defendant are residents of different states and the amount in
controversy exceeds $75,000.

6. Venue is properly in the Southern District of Mississippi pursuant to 28 U.S.C. §
1391(b) because a substantial part of the events or omissions giving rise to Plaintiff's claims
occurred in this District. Defendant is located in and does business within this District.

7. Plaintiff Christopher Henry is, and has been at all times relevant to the instant
matter, a natural person residing in the state of Georgia.

8. Defendant TA Operating LLC is a limited liability company incorporated in the
state of Delaware with managers residing in the states of Massachusetts and Ohio. Defendant
may be served with process by service on its registered agent, Corporation Service Company, at
7716 Old Canton Road, Suite C, Madison, MS 39110.

9. Defendant does business in Jackson, Mississippi as TA Truck Service,
TravelCenters of America and/or Petro Stopping Centers.

FACTUAL ALLEGATIONS

10. Henry is a self-employed over-the-road truck driver who drives a 2014
Freightliner Cascadia (“Vehicle”). Because the Vehicle is essential to Plaintiff's livelihood, he
has always maintained the Vehicle in good operating order.

11. At around 10:00 p.m. CST on February 8, 2021, Henry took the Vehicle to
Defendant’s I-20 Frontage Road location for an oil change. Henry ordered the “Ultimate Oil

Change,” which included, inter alia, 11 quarts of oil.
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12. After about 1.5 hours, Defendant told Plaintiff that the oil change was complete,
and Henry paid Defendant $384.06.

13. Contrary to Defendant’s representation to Henry, Defendant did not perform a
proper oil change.

14. Specifically, Defendant did not add the proper amount of new oil — if Defendant
added any oil at all.

15. | Unaware of Defendant’s negligence, Henry slept in the Vehicle for a couple of
hours and then began traveling west on Interstate 20.

16. | At approximately 3:30 a.m. and 100 miles later, the Vehicle’s check engine light
came on. About three minutes later, the shut off light illuminated forcing Henry to pull over and
park the Vehicle on the shoulder of Interstate 20 in Louisiana.

17. Henry researched the code associated with the warning lights and the results
stated that the code effectively meant there was no oil in the engine.

18. Henry checked the oil and found no oil on the dipstick. Henry added four quarts
of oil, but the dipstick still showed no oil.

19. Henry called a roadside service, which brought him 12 quarts of oil. Henry added
more oil to the Vehicle, but it would not run.

20. Henry then called Defendant, which sent a technician to the Vehicle.

21. The technician turned the Vehicle on and allowed it to run until it shut itself off
after the warning lights came on. The technician repeated this process three times.

22. The technician then inspected the warning lights and found them to work
properly. Further, the technician determined that the Vehicle’s engine did not have an oil leak.

23. Despite finding no oil leak or other reason why the Vehicle’s engine would have
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no oil in it, the technician stated that Defendant did not cause the engine failure. Defendant then
charged Henry almost $400 for this “road service.”

24. At his own expense, Henry had the Vehicle towed to Patriot Fleet Service in
Bossier City, Louisiana.

25. For the next month, Henry called and emailed Defendant seeking to resolve this
issue.

26. On or about March 11, 2021, Defendant inspected the Vehicle and reiterated that
Defendant did not cause the Vehicle’s engine failure.

27. Henry requested a copy of Defendant’s inspection report, but Defendant would
not provide him with a copy.

28. | Henry’s Vehicle is his sole means of income.

29. The Vehicle’s engine is beyond repair. The Vehicle requires a new engine to run
again.

30. A new engine costs approximately $57,000.

31. In addition to the cost for a new engine, Henry has suffered wage loss, emotional
distress, and has incurred out-of-pocket expenses.

CLAIMS FOR RELIEF

COUNT I
Negligence

i

32. Plaintiff incorporates the preceding paragraphs as if fully rewritten herein.
33. | Defendant owed Henry the duty to perform the requested oil change with

reasonable care.

34. Defendant knew, or should have known, that a proper oil change requires

replacing an engine’s old oil with a sufficient amount of new oil.

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35. Defendant knew, or should have known, that a vehicle, like Henry’s, requires oil
to run properly, and driving such a vehicle without a sufficient amount of oil will damage the
engine.

36. Defendant did not replace the old oil in Henry’s Vehicle with the proper amount
of new oil, which left no appreciable amount of oil in the Vehicle’s engine.

37.  Defendant’s failure to properly perform the oil change proximately caused the
damage to Henry’s Vehicle.

38.  Defendant’s negligence entitles Plaintiff to an award of compensatory damages in
an amount to be determined at trial.

39.  Defendant’s conduct constitutes gross negligence entitling Henry to an award of

punitive damages, attorney’s fees, and costs.

COUNT II
Breach of Contract

40. Plaintiff incorporates the preceding paragraphs as if fully rewritten herein.

41. Inthe alternative, Defendant breach its contract with Henry.

42. Defendant entered into a contract with Henry to perform an oil change on Henry’s
Vehicle.

43. Henry paid Defendant $384.06 to perform the oil change.

44, Defendant breached the contract by not performing a proper oil change on
Henry’s Vehicle, but rather draining the old oil without adding the correct amount of new oil.

45.  Defendant’s breach caused Henry to suffer damages as described above.

46.  Defendant’s breach of contract entitles Henry to an award of compensatory
damages in an amount to be determined at trial.

47.  Defendant’s conduct constitutes a willful or wanton disregard for Henry’s rights
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entitling him to an award of punitive damages, attorney’s fees, and costs.

COUNT Il
Breach of the Duty of Good Faith and Fair Dealing

48. Plaintiff incorporates the preceding paragraphs as if fully rewritten herein.

49. The duty of good faith and fair dealing is inherent in every contract entered into in
Mississippi.

50. Conduct that violates the standards of decency, fairness, or reasonableness
constitutes a breach of the duty of good faith and fair dealing.

51. By failing to perform a proper oi! change as described herein, Defendant failed to
perform the contract with decency, fairness, or reasonableness.

52.  Defendant’s conduct constitutes a breach of the duty of good faith and fair
dealing, which entitles Henry to an award of compensatory damages in an amount to be
determined at trial.

53,  Defendant’s conduct constitutes a willful or wanton disregard for Henry’s rights
entitling him to an award of punitive damages, attorney’s fees, and costs.

JURY DEMAND
54. Plaintiff demands a jury trial on all issues so triable.
WHEREFORE, Plaintiff prays for the following relief:

A compensatory damages in an amount to be determined at trial;
B punitive damages in an amount to be determined at trial;

Cc. attorney’s fees and costs; and

D all other relief to which Henry may be entitled.

Respectfully submitted, this the 22nd day of April 2021.

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PLAINTIFF CHRISTOPHER HENRY,

Brian K. Herrington
Brian K. Herrington, MB# 10204

Chhabra Gibbs & Herrington PLLC

120 North Congress Street, Suite 200
Jackson, Mississippi 39201

T: 601-326-0820

F; 601-948-8010

E: bherrington@nationalclasslawyers.com

Attorney for Plaintiff

DEFENDANT TO BE SERVED:

TA Operating LLC

c/o Corporation Service Company
7716 Old Canton Road, Suite C
Madison, MS 39110
